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                                                           90922
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                 January 16, 2024

                 VIA ECF
                 Special Master The Hon. Thomas I. Vanaskie
                 Stevens & Lee
                 1500 Market Street, East Tower, 18th Floor
                 Philadelphia, PA 19103

                           Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                                      Case No. 1:19-md-02875-RBK-SAK (D.N.J.)

                 Dear Judge Vanaskie:

                         Pursuant to the briefing schedule set at the January 4, 2024 Case Management
                 Conference, and as set forth in Special Master Order No. 90 (ECF No. 2587), Defendants of
                 the claims brought by Third-Party Payor Plaintiffs regarding Losartan and/or Irbesartan
                 products (hereinafter “TPP Defendants” or “Defendants”) respectfully move the Court to
                 approve and enter the full Losartan/Irbesartan Third Party Payor Plaintiff Fact Sheet (“TPP
                 PFS”), attached as Exhibit 1, or alternatively to allow Defendants core Losartan/Irbesartan
                 fact discovery of the TPP Plaintiffs through other means under the Federal Rules of Civil
                 Procedure.

                                                             Introduction
   CLEVELAND
                         The issues in dispute all boil down to Defendants’ fundamental right to discovery on
    COLUMBUS
                 the causes of action against them—and when and how Defendants get the discovery to which
    CINCINNATI   they are entitled. Defendant sought via the PFS, the form demanded by Plaintiffs, basic
     CHICAGO
                 relevant discovery from the TPP Class Representatives (“TPPs” or “Plaintiffs”) on the
                 elements of the many causes of action they brought against Defendants, including
    NEW YORK
                 Wholesaler Defendants1 (“Wholesalers”) specifically. Plaintiffs agree that discovery is
WASHINGTON DC    appropriate and insist they are not trying to stall discovery. Aug. 24, 2023 Disc. Conf. Trans.
   BOCA RATON    6:24-7:3, 9:13-18. However, despite multiple meet and confer sessions, Plaintiffs have
                 refused to provide the majority of the core facts sought. Plaintiffs have largely refused to
   ULMER.COM     produce any information related to their proof (or lack thereof) of the essential elements of
                 their causes of action and Defendants’ corresponding defenses.



                           1
                          Wholesaler Defendants are AmerisourceBergen Corp. (n/k/a Cencora, Inc.),
                 Cardinal Health, Inc., and McKesson Corporation.
                 312 Walnut Street                             FIRM   513.698.5000          FAX   513.698.5001
                 Suite 1400
                 Cincinnati, OH 45202-4029
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               Due process demands that Defendants have a right to this core discovery of relevant
      facts, including defenses to Plaintiffs’ asserted causes of action. The TPPs’ PFS revisions
      and objections are unacceptable and only serve to stymie Defendants’ discovery into the
      facts (or lack thereof) underlying TPP Plaintiffs’ claims in violation of the Federal Rules.
      Thus, as demonstrated below, Defendants’ proposed TPP PFS (Ex. 1) should be entered, as
      it seeks core relevant facts and properly exercises Defendants’ fundamental rights to seek
      such discovery.

              Alternatively, if Plaintiffs now argue—in direct contradiction to their previous
      arguments—that the TPP PFS is not the proper vehicle for this core discovery, then
      Defendants ask the Court to permit Defendants to serve discovery on Plaintiffs through other
      means under the Federal Rules. Defendants’ focus is on function, not form; Plaintiffs cannot
      be permitted to avoid basic discovery obligations. Defendants are entitled to this discovery,
      whether via the PFS or other means. If the relief Defendants seek is not granted, Defendants
      will be denied adequate discovery of the basic elements of the causes of action Plaintiffs
      assert.

                                      Background of the Dispute

              It is fundamental that Defendants are entitled to basic discovery about Plaintiffs’
      Losartan and Irbesartan causes of action, the underlying facts, and the documents and data
      containing those facts. Plaintiffs agree: “[W]e believe the wholesaler defendants have a right
      to discovery.” Counsel for Plaintiffs, Aug. 24, 2023 Disc. Conf. Trans. 9:14-15 [ECF 2475].
      Indeed, Plaintiffs have repeatedly assured Defendants and the Court that—while Plaintiffs
      fully agree that Defendants are entitled to this discovery—Plaintiffs simply want to find the
      “right vehicle” and “right time” for that discovery:

             So the plaintiffs' position has never been that the wholesaler defendants
             aren’t entitled to discovery. We absolutely believe that discovery is
             necessary, and the TPP plaintiffs will provide it. The question is which is
             the right vehicle, and what is the right time.

      Counsel for Plaintiffs, Aug. 24, 2023 Disc. Conf. Trans. 6:24-7:3 (ECF No. 2475) (emphasis
      added). Despite these assurances, however, Plaintiffs have consistently played a shell game
      designed to avoid discovery of the facts underlying their many causes of action.

             In August 2023, the Court determined that it was the “right time” to get this losartan
      and irbesartan discovery started and specifically noted that Plaintiffs and Defendants would
      each be entitled to discovery from the other:
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             I do believe that it is appropriate to put in place a schedule now and a
             schedule that swings both ways for the wholesaler defendants and for the
             plaintiffs in this case.

      Aug. 24, 2023 Disc. Conf. Trans. 12:7-9 (ECF No. 2475) (emphasis added). The Court
      indicated it would enter the Wholesalers’ proposed scheduling order (ECF No. 2472-1),
      which included discovery for both Plaintiffs and Wholesalers. Id. at 12:7-13:1. Plaintiffs’
      Counsel asked that Plaintiffs be permitted to counter some dates, which the Court granted.
      Id. at 13:19-21. But Plaintiffs did not simply propose different dates; Plaintiffs altogether
      removed many of the entries regarding Wholesalers’ discovery to Plaintiffs in an attempt to
      minimize Plaintiffs’ discovery obligations. See Sept. 7, 2023 Disc. Conf. Trans. 4:1-5:22
      (ECF No. 2487).

               Plaintiffs’ shell game tactics continued with respect to the substance of the PFS:
      Plaintiffs argued the PFS was the “right vehicle” for discovery to Plaintiffs but then
      substantively eviscerated it. Plaintiffs successfully argued to the Court that2 the core
      discovery to which Defendants are entitled should be obtained via the PFS to increase
      efficiency and coordination. See Sept. 7, 2023 Disc. Conf. Trans. 8:24-10:23, 25:4-10 (ECF
      No. 2487). In line with the Court’s ruling and its previous ruling that the time for this
      discovery was now, Defendants prepared and sent Plaintiffs a draft PFS. However, Plaintiffs
      now dispute many of the requests in the TPP PFS, and object to producing facts that are core
      to their claims and allegations against Defendants (and Wholesalers, specifically),3 including
      facts demonstrating alleged (1) Wholesaler wrongdoing or misrepresentations; (2)
      Wholesaler knowledge of impurities; (3) the lack of full value for losartan/irbesartan; and
      even (4) the financial data for covered insurance claims for which Plaintiffs seek damages.

             2
                For the avoidance of doubt as to the role of the PFS within broader permitted
      discovery and/or any alleged “waiver” arguments of additional Wholesaler discovery to
      Plaintiffs, Plaintiffs repeatedly affirmed that Wholesalers should and will be allowed to serve
      additional discovery on Plaintiffs beyond the PFS. Counsel for Plaintiffs, Sept. 7, 2023 Disc.
      Conf. Trans. 6:25-7:1 (ECF No. 2487) (“We’re not saying, wholesalers, you can’t serve extra
      discovery.”); id. at 8:24-25 (“We’re not saying that there should be nothing else after the
      fact sheet, not at all.”); id. at 10:10-11 (“And again, we’re not saying they don’t get to serve
      other supplemental RFPs. We heard you.”). Special Master Vanaskie likewise agreed that
      Wholesalers can serve at a later date supplemental discovery beyond the PFS. Sept. 7, 2023
      Disc. Conf. Trans. 6:25-7:1 (ECF No. 2487) (“Supplemental requests for production of
      documents certainly can be allowed, will be allowed.”).
             3
               The requests in the TPP PFS that remain in dispute are highlighted in Exhibit 1 for
      ease of reference.
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          Since Plaintiffs refuse to produce this core information, Defendants now ask the Court to
          hold Plaintiffs to their discovery obligations and require them to produce the discovery
          sought, whether via entry of Defendants’ proposed PFS or by allowing Defendants to serve
          other discovery.

                 Below, Defendants set forth the reasons they are entitled to the discovery
          contemplated in the disputed requests in the TPP PFS under the Federal Rules and applicable
          law. Because the vast majority of the disputed requests relate specifically to Wholesalers,
          those requests are addressed first, and separately from, the requests applicable to all
          Defendants.

     I.      Disputed Wholesaler-Specific Requests

                 a. Wholesalers are entitled to discovery.

                  Under Rule 26, a party “may obtain discovery regarding any nonprivileged matter
          that is relevant to any party’s claim or defense[.]” Fed. R. Civ. P. 26(b)(1). Rule 34 also
          provides that “[a] party may serve on any other party a request within the scope of Rule
          26(b)… to produce … items in the responding party’s possession, custody, or control,”
          including “documents or electronically stored information.” Fed. R. Civ. P. 34(a)(1).

                 These fundamental rules are precisely why Wholesalers originally served RFPs on
          the TPP Plaintiffs—to obtain discovery relevant to the TPPs’ claims against them and
          Wholesalers’ defenses to the TPPs’ claims. As discussed supra, the court at first agreed that
          Wholesalers were entitled to this discovery. Unsatisfied, Plaintiffs protested this result, and
          argued that TPP Defendants, Wholesalers included, should instead incorporate their
          discovery requests into the PFS.

                  But despite their stated willingness to follow the PFS process as the primary means
          of discovery and their assurance to the Court that they were not “trying to stymie”
          Wholesalers’ in their discovery requests (Sept. 7, 2023 Disc. Conf. Trans.at 16:11-15, ECF
          No. 2487), Plaintiffs now refuse to include (and thus answer) nearly all the Wholesaler-
          related requests in the proposed TPP PFS. Of the 24 proposed requests related specifically
          to Wholesalers, Plaintiffs agreed to respond to just three. Plaintiffs’ fundamental position
          appears to be that Wholesalers are not entitled to discovery—either in the PFS, as they
          specifically requested of the Court, or otherwise.

                  Plaintiffs’ categorical refusal to answer the disputed requests denies Wholesalers
          their basic due process rights to obtain discovery related to the claims against them and their
          defenses to those claims, as well as the damages sought—straightforward and essential
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      discovery that the Federal Rules plainly allow. It is fundamental, and the case law is
      consistent, that all Defendants are entitled to this discovery about:

              (1) Plaintiffs’ claims: McBee v. Sec. Credit Sys., No. CIV.A.09-2764(WJM), 2010
             WL 1380017, at *2 (D.N.J. Jan. 27, 2010), report and recommendation adopted, No.
             CIV.A.2:09-02764, 2010 WL 1407243 (D.N.J. Mar. 29, 2010) (“Defendant has a
             right to defend itself against Plaintiff’s allegations by obtaining discovery relevant to
             Plaintiff’s claim. See Fed.R.Civ.P. 26(b). The discovery requests by Defendant are
             crucial to the efficient resolution of this case.”); Cornaglia v. Ricciardi, 63 F.R.D.
             416, 419 (E.D. Pa. 1974) (“It is beyond question that defendant is entitled to
             discovery of the facts upon which plaintiff’s claim … is founded.”); Vanguard Sav.
             & Loan Ass'n v. Banks, No. CIV. A. 93-CV-4627, 1995 WL 108223, at *4 (E.D. Pa.
             Feb. 15, 1995) (“As a defendant in this matter, Mrs. Banks is entitled to know the
             factual content of plaintiff’s claims with a reasonable degree of precision”); MSP
             Recovery Claims, Series LLC v. Abbott Lab’ys, No. CV1921607FLWRLS, 2022 WL
             11804007, at *2 (D.N.J. Oct. 17, 2022) (granting defendant’s motion to compel MSP
             to produce documents regarding its claims, where defendant argued “because
             Plaintiffs are pursuing consumer fraud claims on behalf of the Assignors under
             varying state laws, Defendants are entitled to discovery from each Assignor to
             challenge the allegations that the Assignor meets the elements of those consumer
             fraud claims.”);

             (2) Wholesalers’ defenses: Zacharewicz v. Kokes Fairways, LLC, No. CIV. 15-
             1551, 2015 WL 4545638, at *2 (D.N.J. July 28, 2015) (“Defendants will be entitled
             to seek discovery related to the affirmative defenses.”); Perrone v. CBS, Inc., No.
             CIV.A. 96-110, 1997 WL 863266, at *4 (D.N.J. Mar. 20, 1997) (“Because the
             requested discovery is directly relevant to establishing a ‘truth defense’ to the
             plaintiffs’ claim, the defendants are clearly entitled to the discovery pursuant to Rule
             26(b).”); and

             (3) Damages: JJ BADA Operating Corp. v. Dokdoya, Inc., No. CV199194ESCLW,
             2021 WL 4988488, at *4 (D.N.J. Oct. 27, 2021) (“For example, if Plaintiff intends
             to seek damages based on ‘the cost of developing the trade secret,’ it must disclose
             all relevant information on such cost. If Plaintiff plans to seek a 10% reasonable
             royalty, it is obligated to disclose any factual basis in its possession, control, and
             custody that supports such a claim. Moreover, regardless of Plaintiff’s damages
             theory, Defendants are entitled to discovery on matters that are relevant to their
             defenses[.]”).
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              Denial of critical discovery is grounds for reversal. See, e.g., Shaklee Corp. v.
      Gunnell, 748 F.2d 548, 550 (10th Cir. 1984) (“We must hold that there was a denial of
      discovery sought by the defendants that precluded a fair trial and the judgment must be set
      aside.”). The Court should therefore affirm that Wholesalers are entitled to discovery about
      the TPPs’ claims against them, their defenses, and the damages sought by TPPs, and order
      Plaintiffs to respond to the TPP PFS containing the disputed Wholesaler-specific requests.

             b. Wholesalers are entitled to discovery about the TPPs’ unjust enrichment
                claims.

             Because the elements of UE claims vary widely from state to state, various facts may
      be relevant to Plaintiffs’ claims—all of which should be discoverable by Defendants.
      Wholesalers’ targeted RFPs properly exercise their fundamental rights to seek this relevant
      information on the elements of the TPP Plaintiffs’ UE claim against them. TPP Plaintiffs
      should not be permitted to avoid their most basic discovery obligation to respond to them.

              This Court has held that to prevail on a UE claim, a plaintiff must show “(1) a benefit
      conferred on the defendant by the plaintiff; (2) an appreciation or knowledge by the
      defendant of the benefit; and (3) the acceptance/retention by the defendant of the benefit
      under circumstances that make it inequitable for the defendant to keep the benefit without
      payment of its value.” MTD 6 Op., pg. 26 (ECF 1019). While those are three core elements
      of a UE cause of action, depending on the state laws invoked, discovery of other underlying
      facts will be appropriate. These include, for example, topics such as:

             (1) Remuneration. UE law in New Jersey “requires that plaintiff show that it
             expected remuneration from the defendant at the time it performed or conferred a
             benefit on the defendant and that the failure of remuneration enriched defendant
             beyond its contractual rights.’” MTD 6 Op. Pg. 39 (ECF 1019) (quoting VRG Corp.
             v. GKN Realty Corp., 641 A.2d 519, 519 (N.J. 1994)); accord Gant v. Ragone, No.
             1-20-cv-01727-RBK-KMW, 2020 U.S. Dist. LEXIS 216740, at *9 (D.N.J. 2020)
             (Kugler, J.).

             (2) Wrongdoing. Certain other states—such as Indiana, Texas, and Montana—
             require the plaintiff to prove the defendant engaged in wrongdoing. Hughes v.
             Chattem, Inc., 818 F. Supp. 2d 1112, 1124 (S.D. Ind. 2011); Bimbo Bakeries USA,
             Inc. v. Pinckney Molded Plastics, Inc., No. 4:06-CV-180-A, 2007 WL 836874, at *6
             (N.D. Tex. Mar. 20, 2007); Albinger v. Harris, 48 P.3d 711, 716 (Mont. 2002).

             (3) Direct Benefit. Other states—such as Delaware, Florida, Ohio, and New Jersey
             —permit UE recovery only if the plaintiff conferred a “direct benefit” on the
             defendant or had “a sufficiently direct relationship with the defendant to support the
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            claim.” See Vichi v. Koninklijke Philips Elecs. N.V., 62 A.3d 26, 59–60 (Del. Ch.
            2012); Sport & Wheat, CPA, PA v. ServisFirst Bank, Inc., 479 F. Supp. 3d 1247,
            1255 (N.D. Fla. 2020); Johnson v. Microsoft Corp., 834 N.E.2d 791, 799 (Ohio
            2005); Snyder v. Farnam Cos., 792 F. Supp. 2d 712, 724 (D.N.J. 2011) (citing Nelson
            v. Xacta 3000 Inc., Civ. No. 08-5426 (MLC), 2009 U.S. Dist. LEXIS 109580, at *7
            (D.N.J. Nov. 24, 2009)).

            (4) Unjustness. The UE element of a “benefit unjust for the defendant to retain,” in
            particular, requires discovery of the circumstances of the underlying events and the
            equities between the parties. See ECF No. 1019, Mot. to Dismiss Op. 6 at 26. As an
            equitable remedy, UE requires analyzing the extent of unjustness of any
            “enrichment,” which will vary depending on the specific circumstances. Because a
            plaintiff asserting a UE claim is entitled only to the portion of profits that would be
            inequitable to retain in light of all the circumstances, the conduct of the defendant
            from whom the plaintiff seeks to recover cannot be the only consideration. See, e.g.,
            In re McCormick & Co., Inc., Pepper Prods. Mktg. & Sales Pracs. Litig., 422 F.
            Supp. 3d 194, 232 (D.D.C. 2019) (UE requires “a fact-intensive inquiry that focuses
            on the totality of the circumstances, not just defendants’ conduct.”) (emphasis
            added).

            (5) Value. The value of the LCDs and ICDs to the TPP Plaintiffs is relevant to an
            evaluation of the appropriate measure of damages on a UE claim. Jones v. Monsanto
            Co., No. 19-0102-CV-W-BP, 2021 WL 2426126, at *6 (W.D. Mo. May 13, 2021)
            (“[t]he measure of damages” for UE “requires consideration of the fact that the
            consumers … received some value from their purchase.”) (emphasis added); see also
            Off. Stanford Invs. Comm. v. Am. Lebanese Syrian Associated Charities, Inc., No.
            3:11-CV-0303-N, 2015 WL 13739835, at *13 (N.D. Tex. July 22, 2015) (denying
            plaintiff’s motion for summary judgment because “a fact question remains as to
            whether Stanford received some value in exchange for the transfers, and thus whether
            Le Bonheur is entitled to a corresponding reduction in [UE] damages.”).

            Moreover, the value of the LCDs and ICDs to the TPPs is relevant to the essential
            elements of the TPPs’ UE claim. “To determine whether a defendant in an unjust
            enrichment claim enjoyed an appreciation of the benefits which were conferred ...
            the issue is whether the value of the benefit conferred exceeds the value of the
            consideration he paid for the benefits.” In re Ford Motor Co. E-350 Van Prods. Liab.
            Litig. (No. II), No. CIV. A. 03-4558 (GEB), 2010 WL 2813788, at *44 (D.N.J. July
            9, 2010), amended, No. CIV.A. 03-4558 (GEB), 2011 WL 601279 (D.N.J. Feb. 16,
            2011) (quotations omitted) (emphasis added).
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            Furthermore, the value of the LCDs and ICDs provided to TPP Plaintiffs must
            include profits TPP Plaintiffs realized from the coverage of losartan and irbesartan
            prescriptions for their insureds. In analogous cases in which a plaintiff has sought
            disgorgement of profits from a defendant, multiple other courts have found that if the
            plaintiff also profited or received value from the defendant’s alleged misconduct,
            such profits, or value are discoverable. For example, in Dryer v. Nat’l Football
            League, NFL players sued the NFL for unjustly profiting off their publicity rights.
            2011 WL 13136546, at *1. The NFL argued that “to the extent Plaintiffs have
            profited commercially, the NFL is entitled to discovery regarding the players’
            publicity rights.” Id. The court agreed and granted the NFL’s requested discovery:
            “[b]ased on the allegations in the Amended Complaint regarding the use of Plaintiffs’
            identities and claims of unjust enrichment, and Defendant’s asserted defenses … the
            Court finds that to the extent that Plaintiffs have used their identity rights
            commercially … such documents are relevant” and “[t]o the extent that documents
            reflect the value of those identity rights, such documents are likewise relevant.” Id.
            at *2.

            Similarly, in Bauer v. Pourciau, the plaintiff “contend[ed] that the Defendants are
            unjustly enriched in the amount of their profits” from appropriation of the plaintiff’s
            intellectual property rights. 2020 WL 5542863, at *2. The court rejected the
            plaintiff’s argument that “he need not produce documents related to the value of [his]
            intellectual property” because the value “is not related solely to the damages of an
            unjust enrichment claim, but rather is an essential element of the claim.” Id.
            (emphasis added).

            (6) Wholesalers’ Defenses. Evidence of TPP profits earned on covering the LCDs
            and ICDs at issue is relevant to Wholesalers’ unclean hands defense. Generally, the
            unclean hands defense applies “when the party seeking relief is guilty of fraud,
            unconscionable conduct, or bad faith directly related to the matter at issue that injures
            the other party and affects the balance of equities.” Paramount Aviation Corp. v.
            Agusta, 178 F.3d 132, 147 n. 12 (3d Cir. 1999). Wholesalers are no different from
            the TPPs, as both groups paid for LCDs and ICDs without knowing that they were
            contaminated—thus if Wholesalers are liable for bad conduct then so, too, are the
            TPPs—or neither are.

              With this law and the elements of UE in mind, Defendants have included the
      following RFPs in the TPP PFS, each of which tracks an element of UE that the TPP
      Plaintiffs must prove in some relevant state:
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             RFP 19:         wrongdoing/improper conduct by Wholesaler;
             RFP 25          benefit conferred on Wholesaler by TPP Plaintiff;
             RFP 26:         portion of benefit unjust for Wholesaler to retain;
             RFP 27:         expectation of remuneration from Wholesaler;
             RFP 28          benefit/value provided to TPP Plaintiff by losartan/irbesartan
                             products; and
             RFP 31:         revenue, expenses and/or costs, and net profits of TPP Plaintiff.

              It is axiomatic that the TPP Plaintiffs bear the burden of proof on their UE cause of
      action, obligating them under the Federal Rules of Civil Procedure to produce in discovery
      both the evidence on which they will rely at trial and all other evidence relevant to the cause
      of action requested in the above RFPs. See Fed. R. Civ. P. 26(b)(1); Munoz v. PHH Corp.,
      No. 1:08-cv-0759-DAD-BAM, 2016 U.S. Dist. LEXIS 17254, at *14 (E.D. Cal. 2016); see
      also Montana v. Cnty. Of Cape May Bd. Of Freeholders, No. CV 09-755 (NLH/JS), 2013
      WL 11233748, at *5 (D.N.J. Sept. 20, 2013) (“Admissibility at the trial is not the limit of
      discovery, and discovery may properly be had of inadmissible matter.”).

              Wholesalers anticipate Plaintiffs will argue that the disputed UE RFPs in the TPP
      PFS regarding LCDs and ICDs should be denied because SMO 82 previously denied similar
      RFPs about VCDs, including RFPs requesting documents about the value of VCDs to TPP
      Plaintiffs and TPP Plaintiffs profits on coverage of VCDs. SMO 82 held that the discovery
      on the value of VCDs is irrelevant and unnecessary, premised mainly on a statement by
      Judge Kugler in a motion to dismiss ruling that Plaintiffs sufficiently pled that VCDs are
      economically worthless. ECF No. 2469 at 13 (citing Jan. 22, 2021 Opinion, ECF No. 775 at
      20). That said, SMO 82 and its reasoning has no application to the TPP PFS regarding LCDs
      and ICDs for two reasons. First, the Court has not stated that the LCDs and ICDs at issue are
      worthless—or VCDs, for that matter. Second, in the Court’s subsequent ruling on class
      certification of claims about VCDs and related motions to exclude expert testimony, the
      Court explicitly found that, contrary to SMO 82, whether the VCDs are economically
      worthless is a question reserved for the factfinder. ECF 2261 at 22-23. Fed. R. Civ. P. 26
      permits Wholesalers discovery on issues to be presented to the factfinder, which in this case
      includes discovery of whether TPP Plaintiffs received value in relation to the LCDs and
      ICDs at issue, or if they directly profited from their coverage of those LCDs and ICDs.

              Finally, if, as Wholesalers request, Court enters the disputed UE RFPS, Wholesalers
      anticipate TPP Plaintiffs will, as they have previously, attempt to limit their production of
      documents regarding LCDs and ICDs to only those documents they intend to rely on at trial.
      That is improper. A party’s strategic choices about what it will or will not rely on at trial to
      prove its claims does not determine the scope of discovery—Fed. R. Civ. 26 does. TPP
      Plaintiffs cannot use such a tactic to thwart Defendants from obtaining relevant documents
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       and information, if they in fact exist. Indeed, no such standard has been applied to the
       discovery of TPP Defendants, and it does not apply to TPP Plaintiffs either.

               c. Wholesalers are entitled to discovery about the remaining claims against
                  them, and to support their defenses.

               Along with unjust enrichment, TPP Plaintiffs also bring claims against Wholesalers
       for breach of implied warranty and violation of various state consumer protection statutes.4
       In response to these claims, Wholesalers intend to raise the innocent seller statutory
       protections available in a majority of states as a defense. See Dkt. 2011-10. Accordingly,
       Wholesalers included targeted requests in the TPP PFS that seek basic information about
       these claims and the application of the innocent seller defense.

               The TPP PFS contains just one disputed Wholesaler-specific request related to
       implied warranty, requesting TPPs to produce documents “that refer and/or relate to any
       action by any Wholesaler Defendant that You allege breached an implied warranty with
       respect to the Claims and/or the Losartan and/or Irbesartan products made the subject of the
       Claims.” Ex. 1, Doc. Demands No. 22. Plaintiffs have not provided a specific objection to
       this request in writing, nor have they explained their objection in the several meet and confer
       sessions, other than striking the request through in redline. See Ex. 2 (Plaintiffs’ initial mark-
       up of draft TPP PFS). This straightforward and uncontroversial request seeks the facts
       underlying Plaintiffs’ implied warranty claim against Wholesalers. Defendants are entitled
       to this essential and plainly relevant information. McBee, 2010 WL 1380017, at *2;
       Cornaglia, 63 F.R.D. at 419.

              Similarly, Request Nos. 20, 21, 24, 37, and 38 seek information relevant to the
       elements of TPPs’ consumer protection statute claims against Wholesalers in various states,
       including information about the TPPs’ reliance on any alleged “misrepresentation or
       omission of fact by any Wholesaler Defendant” and any “deception” on the part of any

               4
                 Plaintiffs brought various other claims against Wholesalers in the losartan and
       irbesartan Master Complaints, including fraud, negligence, and breach of express warranty,
       that were dismissed with respect to valsartan. The parties are negotiating a stipulation to
       dismiss those claims from the losartan and irbesartan Master Complaints, and agree that
       discovery requests in the TPP PFS related exclusively to those claims may be removed,
       pending entry of the stipulation. See Ex. 1, Draft TPP PFS, Document Demand Nos. 39
       (relevant to negligence claim); 35-36 (relevant to express warranty claim). Should the parties
       not reach agreement on a stipulation, or the Court not enter the stipulation for any reason,
       Wholesalers reserve their rights to request that those specific requests also be included in the
       TPP PFS.
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       Wholesaler Defendant. See, e.g., Smajlaj v. Campbell Soup Co., 782 F. Supp. 2d 84, 91
       (D.N.J. 2011) (New Jersey Consumer Fraud Act requires “misrepresentation” by the
       defendant in the sale or advertisement of product); In re Fyre Festival Litig., No. 17-CV-
       3296 (PKC), 2020 WL 7043497, at *7 (S.D.N.Y. Dec. 1, 2020) (“California’s … Unfair
       Competition Law, and Illinois’s Consumer Fraud Act all require plaintiff to demonstrate
       reliance” and that “Colorado’s Consumer Protection Act require[s] a plaintiff to demonstrate
       that the suffered injury was caused by the deceptive conduct.”). Again, Plaintiffs do not
       articulate specific objections to these requests, but simply refuse to include them.
       Wholesalers are entitled to a response to these basic questions fleshing out the facts
       underpinning claims against them.

                Next, Request Nos. 41-46 track the elements of the innocent seller statutory defenses
       in various states, including requesting documents related to any alleged involvement by
       Wholesalers in the manufacture or design of LCDs and ICDs, and documents that
       “demonstrate that Wholesaler Defendants should have been aware of the alleged LCD/ICD
       contamination before the date of the first LCD/ICD recall.” See Dkt. 2011-10 (chart of
       elements of innocent seller defense in 27 states); see also Thompson v. Nestle Waters N. Am.,
       Inc., No. 2:21-CV-11054, 2021 WL 5114567, at *4 (E.D. Mich. Nov. 3, 2021) (“In essence,
       the statute stands for the proposition that a non-manufacturing seller will not be strictly liable
       for injuries caused by a defective product. Instead, a plaintiff must establish that the seller
       breached some independent duty to the injured party”) (citations omitted). In many states,
       the burden is on the plaintiff to disprove a seller’s entitlement to the innocent seller defense,
       making Wholesalers’ ability to obtain the information in Plaintiffs’ possession particularly
       critical to this defense. See Dkt. 2011-10. Despite the clear relevance of the requests,
       Plaintiffs do not articulate specific objections to these requests but simply refuse to include
       them without discussion. Wholesalers are entitled to this discovery.

               Finally, Plaintiffs refuse to answer all three requests under the heading “Wholesaler
       Conduct and Damages.” These requests seek fundamental discovery about any
       “wrongdoing, improper practice or action, and/or misrepresentation by any Wholesaler
       Defendant,” the actions or inactions the TPP Plaintiff took as a result of any alleged
       Wholesaler wrongdoing, and the type and amount of damages the TPP Plaintiff seeks against
       Wholesalers. This basic discovery into the facts underlying the TPPs’ claims, and the
       damages they seek, is unquestionably relevant. McBee, 2010 WL 1380017, at *2; Cornaglia,
       63 F.R.D. at 419; JJ BADA Operating Corp., 2021 WL 4988488, at *4. Plaintiffs have stated
       that they object to these requests as premature “contention interrogatories.” Even if the Court
       agrees, Wholesalers request that the Court order noting when and in what form Wholesalers
       will be permitted to renew these requests in the future.
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     II.   Disputed Requests Applicable to All TPP Defendants

               There also are several disputed requests applicable to all TPP Defendants. For each
       of these reasons, TPP Defendants are entitled to this discovery from the TPP Plaintiffs.

              a. RFP No. 13 Regarding TPP Plaintiffs’ Third-Party Beneficiary Status
               The parties have agreed that TPP Plaintiffs will produce any contracts between them
       and any Manufacturer Defendant, Wholesaler Defendant, and/or Pharmacy Benefit
       Manager. But the TPP Plaintiffs refuse to answer RFP No. 13, which seeks documents
       showing whether any TPP Plaintiff was a third-party beneficiary to a contract between any
       Manufacturer Defendant, Wholesaler Defendant, and/or Pharmacy Benefit Manager.
       Dealings between parties are a fundamental subject of discovery regardless of the cause of
       action. See, e.g., Intarome Fragrance & Flavor, Corp. v. Zarkades, No. CIV A 07-873 DRD
       MAS, 2008 WL 4449629, at *1-2 (D.N.J. Oct. 1, 2008) (discovery related to any
       communications, business transactions, or agreements between the parties relevant to
       various claims, including conversion, misappropriation, unfair competition, tortious
       interference, and unjust enrichment); Ho v. Marathon Pat. Grp., Inc., No. 5:21-cv-339-PSG
       (SPx), 2021 U.S. Dist. LEXIS 118462, at *18 (C.D. Cal. June 23, 2021) (parties’ prior
       business communications were sufficiently relevant to plaintiff’s implied contract claims).
       Documents responsive to RFP 13 are just as relevant as the specific contracts the TPP
       Plaintiffs have already agreed to produce, and the TPP Plaintiffs cannot provide any
       reasonable argument about why such documents, if they exist, are not relevant and
       discoverable as dealings between the parties. This is particularly true because the TPP
       Plaintiffs may attempt to claim third-party beneficiary status with respect to any contract
       involving TPP Defendants.

              b. RFP No. 23 Regarding Claim for Breach of Implied Warranties of
                 Merchantability and Fitness
              Plaintiffs’ losartan and irbesartan Master Complaints both allege breach of implied
       warranty of merchantability and fitness claims on behalf of TPP Plaintiffs against all
       Defendants. Defendants’ RFP No. 23 asks the TPP Plaintiffs to produce documents that
       demonstrate whether the losartan and irbesartan products at issue were or were not fit for the
       purpose for which they were used. For example, this would include documents that
       demonstrate that the products at issue did or did not lower an insured’s blood pressure.
       Courts throughout the country have long held that an implied warranty of both
       merchantability and fitness “simply means that the thing sold is reasonably fit for the general
       purpose for which it is manufactured and sold.” Henningsen v. Bloomfiled Motors, Inc., 161
       A.2d 69, 76 (N.J. 1960), citing Giant Mfg. Co. v. Yates-American Mach. Co., 111 F.2d 360
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       (8th Cir. 1940); Dunbar Bros. Co. v. Consolidated Iron-Steel Mfg. Co., 23 F.2d 416, 419 (2d
       Cir. 1928); Simmons v. Rhodes & Jamieson, Ltd., 46 Cal.2d 190, 293 P.2d 26 (Sup. Ct.
       1956); Mead v. Coca Cola Bottling Co., 329 Mass. 440, 108 N.E.2d 757 (Sup. Jud.Ct. 1952);
       Ryan v. Progressive Grocery Stores, 255 N.Y. 388, 175 N.E. 105, 74 A.L.R. 339 (Ct. App.
       1931). This RFP seeks the most fundamental of discovery on the TPP Plaintiffs’ breach of
       implied warranty of merchantability and fitness claim.

              c. RFP Nos. 29, 33, 40 Regarding TPP Plaintiffs’ Worthlessness Theory
                The TPP Plaintiffs allege in their losartan and irbesartan Master Complaints, and
       elsewhere throughout this litigation, that the generic LCD and ICDs at issue “were in fact
       not FDA-approved generic version of these drugs, and were instead of lesser quality and
       were adulterated and/or misbranded (and thereby rendered worthless) . . . .” (Dkt. No. 751,
       p. 2, ¶ 5; Dkt. No. 752, p. 2, ¶ 4.). Defendants’ RFPs Nos. 29, 33, and 40 seek discovery on
       this theory to defend against these allegations, including by collecting evidence showing that
       the LCDs and ICDs at issue provided value to TPP Plaintiffs and their insureds and were not
       “worthless” as alleged. And, as noted supra, the Court has recognized that the issue of
       “worthlessness” is an issue for the factfinder. Thus, Defendants are entitled to serve RFPs
       on the TPP Plaintiffs to discover documents in their possession that either support or
       contradict their theory that the products at issue were “worthless.”

              d. RFP Nos. 30 and 32 Regarding TPP Plaintiffs’ Alleged Damages
               Discovery about the TPP Plaintiffs’ purported damages is fundamental. Defendants’
       RFP No. 30 seeks information about premiums and deductibles paid by the TPP Plaintiffs’
       insureds for LCD and ICD prescriptions that are the subject of the Claims on which the TPP
       Plaintiffs are trying to recover. This information is relevant and discoverable because the
       TPP Plaintiffs cannot recover for payments they did not make. RFP No. 32 asks for
       production of documents about payments made by the TPP Plaintiffs for alternative and/or
       replacement medications for the LCDs and IDCs at issue. Those payments, to the extent they
       were made for insureds and are the subject of the Claims at issue, are relevant to whether the
       TPP Plaintiffs incurred damages because of the recall of LCDs and IDCs at issue. Defendants
       are entitled to discovery of this information to understand the potential damages associated
       with the TPP Plaintiffs’ claims. Indeed, if the TPP Plaintiffs intend to attempt to recover for
       such payments, they will need to present evidence at trial about them.

                                                Conclusion

              Despite TPP Defendants’ fundamental due process right to basic discovery about the
       claims against them, and their defenses, Plaintiffs continue to oppose full and fair discovery,
       especially as to their claims against Wholesalers. Without responses to the disputed requests,
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       Defendants will be denied important discovery of the TPPs’ causes of action, and
       Defendants’ ability to prepare a comprehensive defense of the case will be materially
       prejudiced. Defendants therefore request that this Court approve and enter the proposed
       Losartan/Irbesartan TPP PFS, or alternatively to allow Defendants core Losartan/Irbesartan
       fact discovery of Plaintiffs through other means under the Federal Rules of Civil Procedure.
       If the Court finds that the disputed requests are premature, Defendants request that the Court
       order note when and in what form Defendants will have an opportunity in the future to serve
       supplemental discovery containing these disputed requests.

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